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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


TERRANCE GUIDRY,

               Plaintiff,
                                                    CASE NO.: 6:19-cv-1936-Orl-41LRH
v.

PENN CREDIT CORPORATION,

           Defendant.
_____________________________/

PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
                 CLASS ACTION SETTLEMENT

      Plaintiff, Terrance Guidry, respectfully submits this Unopposed Motion for

Preliminary Approval of Class Action Settlement.1

I.     INTRODUCTION

       This case involves alleged violations of the Telephone Consumer Protection

Act, 47 U.S.C. §227(b), (“TCPA”), which prohibits the use of automatic telephone

dialing systems (“ATDS”) to call or text cellular telephones unless the caller has the

“prior express consent” of the called party to make such calls. See 47 U.S.C.

§ 227(b)(1)(A)(iii). Plaintiff alleges that Defendant, Penn Credit Corporation

(“Defendant” or “Penn”), (together with Plaintff, the “Parties”), violated the TCPA

by initiating debt collection calls via ATDS or prerecorded voice to a cellular telephone


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  All capitalized terms included in this motion and incorporated memorandum of law are defined
within the Settlement Agreement and Release, attached hereto as Exhibit A, and its definitions are
incorporated by reference as if fully set forth herein.

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number, and the recipient did not consent to receive such calls. (Doc. 1).

      Penn denies any liability and has asserted substantial defenses, (Doc. 10).

Specifically, Penn disputes that the ringless voice mails (“RVMs”) at issue violate the

TCPA, disputes that VoApps, Inc. (“VoApps”) was its agent; contends that Plaintiff’s

claims are not amenable to class certification; and denies that Plaintiff and class

members are entitled to damages or injunctive relief. Moreover, Penn – due to its

financial condition and limited available insurance – would be unable to withstand a

class-wide judgment requiring it to fully compensate all persons who may have

received an RVM during the class period.

      Nonetheless, the Settlement provides broad relief for all persons who were sent

and/or received RVMs from VoApps on behalf of Penn on the voicemail platform

associated with their cellular telephones and requires Penn to institute certain

meaningful changes to its business practices to help prevent future such calls to cellular

telephones without consent. Further, the Settlement provides for the creation of a

Settlement Fund, from which payments will be made to a subclass of the Settlement

Class whose cellular telephone numbers were obtained via the use of “skip tracing” or

similar techniques (the “Skip Trace Subclass”). Importantly, members of the

Settlement Class whose cellular telephone numbers were not so obtained (the “Non

Skip Trace Subclass”) will not release their individual damages claims against Penn.

II.   BACKGROUND

      A. Nature of the Claims and Procedural History



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      On July 31, 2019, Plaintiff filed a class action Complaint against Defendant in

the United States District Court for the Western District of Louisana. (Doc. 1). The

Complaint alleged violations of the TCPA and sought class certification, statutory

damages, injunctive relief, and an award of attorneys’ fees, costs and expenses on

behalf of Plaintiff and the proposed class. (Doc. 1). On August 23, 2019, Defendant

filed an Answer and Affirmative Defenses. (Doc. 10).

      On October 1, 2019, Defendant filed a motion to transfer this matter to this

Court, (Doc. 17), which was granted, (Doc. 22). On November 26, 2019, the Court

entered its Case Management and Scheduling Order No. 1, which established

deadlines for class discovery and Plaintiff’s Motion for Class Certification. (Doc. 44).

      Plaintiff served written discovery requests, including a Rule 30(b)(6) Deposition

Notice, interrogatories, and requests for production of documents, to which

Defendant served written responses. Plaintiff also sought third-party discovery aimed

at Defendant’s vendor VoApps.

      Subsequently, the Parties began exploring the potential for resolution of

Plaintiff’s claims on a class-wide basis. These discussions were prompted by the

Parties’ desire to avoid the expense, uncertainties, and burden of protracted litigation,

and to put to rest any and all claims or causes of action that have been, or could have

been, asserted against Defendant arising out of the alleged TCPA violations.

      The Parties agreed to Hon. John Thornton (ret.) of JAMS as a mediator. Judge

Thornton is well known as a highly skilled and experienced mediator who has

mediated many complex and class action cases. On December 22, 2020, the Parties

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conducted a full-day mediation session to explore settlement. During the mediation,

the Parties set forth and discussed their respective positions on the merits of the class

claims and the potential for a settlement that would involve class-wide relief. The

Parties exchanged offers and counteroffers, and negotiated the points of each

vigorously. At all times, the Parties’ negotiations were adversarial, non-collusive, and

conducted at arm’s length. The mediation resulted in the material terms set forth in

the Settlement before this Court for consideration. See Declaration of JohnYanchunis,

attached hereto as Exhibit B, ¶ 13 (hereinafter “Yanchunis Decl.”).

          B. Summary of the Settlement Terms

          Following mediation, the Parties turned to the task of memorializing the terms

of the resolution in the Settlement, and the form and content of the Notice. Plaintiff

and Defendant finalized the terms and details of the Settlement, which is attached

hereto as Exhibit A.2 Following is a summary of the Settlement’s material terms.

          The Settlement Class. The Settlement Class includes:

          all persons within the United States that were sent and/or received, without
          consent, a prerecorded voicemail message sent by VoApps to the individual’s
          cellular voicemail service on behalf of Penn from April 30, 2015 through and
          including the date the Preliminary Approval Order is entered by the Court.

S.A. ¶ 1.10.

          The Settlement Class consists of two subclasses of Class Members – the Skip

Trace Subclass Members and the Non Skip Trace Subclass Members. S.A. ¶ 1.10. The

Skip Trace Subclass includes the approximately two million Class Members whose


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    The Settlement Agreement is cited to herein after as “S.A.”

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cellular telephone numbers were obtained by Penn via the use of “skip tracing” or

similar techniques, as identified on the Skip Trace Subclass List. S.A. ¶ 1.41. The Skip

Trace Subclass is a Rule 23(b)(3) opt-out class. Skip Trace Subclass Members are

eligible for the monetary relief descrbied below.

      The Non Skip Trace Subclass includes all persons who are Class Members but

are not also Skip Trace Subclass Members. S.A. ¶ 1.23. The Non Skip Trace Subclass

is a Rule 23(b)(2) class, and thus the parties are not required to provide the right to

“opt out” to these class members, nor are the parties required to provide notice. See

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011) (Rule 23 “provides no

opportunity for (b)(1) or (b)(2) class members to opt out, and does not even oblige the

District Court to afford them notice of the action.”). The Non Skip Trace Subclass

Members will receive the benefit of the Stipulated Injunction, described below, but

retain their rights to pursue individual actions for damages. S.A. ¶ 5.2.

         1.   Monetary, Prospective and Other Relief for the Benefit of the

Settlement Class. The Settlement requires the establishment of a Settlement Fund in

the amount of $4,675,000 to be funded by the Defendant, pursuant to the terms of the

Settlement. S.A. ¶ 1.38. The Settlement Fund shall be used to pay all: (i) Skip Trace

Subclass claims; (ii) Attorneys’ Fees and Costs; and (iii) Settlement Administration

Expenses. S.A. ¶ 1.38. Each Skip Trace Subclass Member who submits a timely and

valid claim form will receive a payment of the pro rata share of the Settlement Fund

after (a) payment of Attorneys’ Fees and Costs to Class Counsel; (b) payment of the

Service Award, if any, to the Class Representative; and (c) payment of Settlement

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Administration Expenses. Thus, the amounts paid to each valid claimant shall be

determined once the total number of valid claims is determined. S.A. ¶ 3.7. In no event

shall a Class Member receive more than the maximum that he or she could have

received under the TCPA for a single call. S.A. ¶ 3.8.

      If, after all payments are processed, an amount greater than $50,000 remains in

the Settlement Fund after the initial distribution to Skip Trace Subclass Members who

filed a valid claim, then the Settlement Administrator shall distribute the remaining

Settlement Fund to Skip Trace Subclass Members who cashed their payment checks

in the previous round of distribution on a pro rata basis after all costs associated with

the second distribution are paid from the remaining Settlement Fund. S.A. ¶ 3.8.

      If there remain amounts in the Settlement Fund after all payments have been

made to Skip Trace Subclass Members, for Attorney’s Fees and Costs, and for

Settlement Administrative Expenses, the balance shall be paid to cy pres recipient as

agreed to by the parties and approved by the Court. S.A. ¶ 3.9.

         2.   Stipulated Injunction.

      The Settlement also requires Penn to implement certain changes to its business

practices via the entry of a Stipulated Injunction, pursuant to which:

      1. Penn shall update and improve its processes and procedures concerning
      compliance with the TCPA. Such processes and procedures shall include
      implementation of a scrub of phone numbers placed by clients or otherwise
      obtained to determine whether the number is a cell phone.
      2.      If a scrub determines a phone number is a cell phone, Penn shall not
      itself, nor through any third party, send any prerecorded messages to the
      number unless it has a good faith basis to believe there is consent to call the
      number or the law otherwise permits such calls.


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      3.     Penn shall not itself, nor through any third party, send any prerecorded
      messages to any numbers Penn obtains through “skip tracing” or similar means
      unless it has a good faith basis to believe there is consent to call the number or
      the law otherwise permits such calls.
      4.     Penn shall revise its written TCPA processes, procedures, and training
      materials.
      5.   Penn shall implement regular training for its employees concerning its
      TCPA processes and procedures.
      6.     Penn shall use its best efforts to ensure that all existing and newly hired
      Penn debt collectors execute an acknowledgement confirming their
      understanding of Penn’s policies and procedures regarding the TCPA.
      7.     The Stipulated Injunction will lapse and expire ten (10) years after it is
      entered by the Court.
      8.    Penn will be required to issue quarterly reports to Class Counsel
      concerning TCPA litigation during the injunctive period.
      9.     Penn shall submit proof of compliance with the injunction to Class
      Counsel by way of providing the training and testing materials used in the
      training upon the commencement of such training. Furthermore, a declaration
      of the responsible person at Penn for ensuring compliance with the training
      requirements of the injunction shall be provided upon completion of the
      training.
      10.     At the end of the Stipulated Injunction, Penn shall submit to Class
      Counsel a declaration from its training coordinator confirming that training
      was provided on a regular basis during the injunction term, as required by the
      Stipulated Injunction. Further, at the end of the Stipulated Injunction, Penn
      shall also submit to Class Counsel an exemplar of the revised TCPA testing
      materials to confirm Penn’s compliance with the Stipulated Injunction.
         3.   Class Release. In exchange for the benefits conferred by the Settlement,

all Skip Trace Subclass Members who do not opt out will be deemed to have released

any and all claims relating to Penn or anyone on its behalf allegedly calling or sending,

without consent, a prerecorded voicemail message sent by VoApps to the individual’s

cellular voicemail service, including, but not limited to, any claims under the TCPA,

or any similar state or federal law. S.A. ¶¶ 1.29, 5.1. All Class Members, including the

Non Skip Trace Class Members, will be deemed to have released any claims to



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injunctive relief against Defendant relating to the sending or receipt, without consent,

of prerecorded voicemail messages sent by VoApps to the individual’s cellular

voicemail service by or on behalf of Penn, from April 30, 2015, through and including

the date of Preliminary Approval. S.A. ¶ 5.2. Non Skip Trace Subclass Members’

individual damages claims of any type related to the alleged receipt of prerecorded

voicemail messages sent by VoApps to the individual’s cellular voicemail service

made by or on behalf of Penn on their cellular telephones from April 30, 2015, through

and including the date of Preliminary Approval are expressly preserved. S.A. ¶ 5.2.

However, Non Skip Trace Subclass Members shall be deemed to have waived the right

to participate in any way (as a class representative, class member, etc.) in any class or

representative proceeding related to such claims. Id.

         4.   The Notice Plan. The notice plan is designed to provide the best notice

practicable. The administrative fees, costs, and expenses of the Settlement

Administrator incurred in connection with the notice plan will be paid from the

Settlement Fund. See S.A. ¶ 1.35.3

      The Class Notice plan was developed in consultation with the Settlement

Administrator is comprised of E-Mail Notice, Social Media Notice, and the Settlement

Website. S.A. ¶ 6.2. First, the Settlement Administrator will conduct reverse phone

lookup research to identify the names and email addresses associated with the cell

phones contained on the Skip Trace Subclass List. S.A. ¶ 6.2(a). Within twenty-eight


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 The Parties seek appointment of American Legal Claim Services, LLC as the Settlement
Administrator. S.A. ¶ 1.36.

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days following entry of the Preliminary Approval Order, the Settlement Administrator

will then cause an E-Mail Notice to be sent to the email addresses associated with the

telephone numbers found, substantially in the form provided in Exhibit 4 to the

Settlement Agreement. The Settlement Administrator shall perform investigations

deemed appropriate by the Settlement Administrator to identify complete and current

email address information for each person in the Skip Trace Subclass. The Settlement

Administrator shall promptly resend any E-Mail Notice returned as non-deliverable,

via additional research, if possible. S.A. ¶ 6.2(b).

       The Settlement Administrator will also provide notice via social media and

other digital advertising media, as described in the Declaration of Benny Davis,

attached as Exhibit 7 to the Settlement Agreement (“Davis Decl.”). S.A. ¶ 6.2(c). This

additional notice will consist of Facebook Reach and Instagram Ads as well as Google

Display Ads. Davis Decl. ¶¶ 6–7.

       Finally, the Settlement Administrator will also establish the Settlement Website

where Class Members may access to copies of the Complaint, this Agreement with all

exhibits referenced herein, Class Notice, including, but not limited to, the Long Form

Notice and Claim Form, the Motion for Preliminary Approval, and the Preliminary

Approval Order. This website will also be where Skip Trace Subclass Members can

file claims, although any Skip Trace Subclass Member will also be able to request a

paper copy of a claim form. S.A. ¶ 6.1(d).

       Penn, through the Settlement Administrator, will also provide the notification

required by the Class Action Fairness Act, 28 U.S.C. § 1715, to the Attorneys General

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 of each U.S. State in which Settlement Class Members reside, the Attorney General of

 the United States, and any other required government officials. See S.A. ¶ 6.3.

          5.   Class Representative Service Award. Class Counsel may seek, and

 Penn will not oppose, a Service Award of $2,500 for Plaintiff (or in another lesser

 amount if set by the Court). S.A. ¶ 13.2. Defendant also will not oppose the Court

 reserving on ruling, or otherwise retaining jurisdiction to consider, payment of a

 service award pending en banc review of Johnson v. NPAS Sols., LLC, 18-12344, 2020

 WL 5553312 (11th Cir. Sept. 17, 2020).

         6.    Attorneys’ Fees, Costs and Expenses. Subject to Court approval, Class

 Counsel will request no more than 30% of the Settlement Fund for their attorneys’

 fees, in addition to reimbursement of the litigation costs and expenses incurred in this

 Litigation, which shall be paid from the Settlement Fund subject to approval from the

 Court. S.A. ¶ 13.1. The Parties negotiated these attorneys’ fees, costs and expenses

 only after reaching agreement on all of the material terms of the Settlement.

 Yanchunis Decl. ¶ 14. In the event the Court grants preliminary approval of the

 Settlement, Class Counsel will file a motion seeking fees, costs, and expenses, and a

 Service Award no later than fifty days after entry of the Preliminary Approval Order.

       In addition to seeking preliminary approval of the Settlement, Plaintiff also

 seeks conditional certification of a nationwide class for purposes of providing the Skip

 Trace Subclass Members with notice of the Settlement and an opportunity to opt-out,

 object, or otherwise be heard. The Settlement satisfies all criteria for preliminary

 settlement approval under Eleventh Circuit law and is fair, reasonable and adequate.

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 III.   ARGUMENT

        A. Certification of the Settlement Class Is Appropriate

        Prior to granting preliminary approval of a proposed settlement, the Court

 should first determine that the proposed Settlement Class is appropriate for

 certification. See MANUAL FOR COMPLEX LITIG., § 21.632 (4th ed. 2004)); Amchem

 Prods. Inc. v. Windsor, 521 U.S. 591, 620 (1997). Class certification is proper if the

 proposed class, proposed class representative, and proposed class counsel satisfy the

 numerosity, commonality, typicality, and adequacy of representation requirements of

 Rule 23(a). Fed. R. Civ. P 23(a)(1)–(4); see also Fabricant v. Sears Roebuck, 202 F.R.D.

 310, 313 (S.D. Fla. 2001). Additionally, where (as in this case) certification is sought

 under Rule 23(b)(3), the plaintiff must demonstrate that common questions of law or

 fact predominate over individual issues and that a class action is superior to other

 methods of adjudicating the claims. Fed. R. Civ. P. 23(b)(3); Amchem, 521 U.S. at 615–

 16. District courts are given broad discretion to determine whether certification of a

 class action lawsuit is appropriate. Walco Investments, Inc. v. Thenen, 168 F.R.D. 315,

 323 (S.D. Fla. 1996).

        A court in a sister district has stated that “[a] class may be certified ‘solely for

 purposes of settlement where a settlement is reached before a litigated determination

 of the class certification issue.’”4 “Confronted with a request for settlement-only class

 certification, a district court need not inquire whether the case, if tried, would present


 4
  Burrows v. Purchasing Power, LLC, 1:12-CV-22800, 2013 WL 10167232, at *1 (S.D. Fla. Oct. 7, 2013)
 (quoting Lipuma v. American Express Co., 406 F. Supp. 2d 1298, 1314 (S.D. Fla. 2005)).

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 intractable management problems . . . for the proposal is that there be no trial.”

 Amchem Products, Inc., 521 U.S. at 620. This case meets all of the Rule 23(a) and

 23(b)(3) prerequisites, and for the reasons set forth below, certification is appropriate.

             1.The Settlement Class Meets All the Requirements of Rule 23(a).
                  a. The Settlement Class Satisfies the Numerosity Requirement.

       The first prerequisite to class certification is numerosity, which requires “the

 class [be] so numerous that joinder of all members is impractical.” Fed. R. Civ. P.

 23(a)(1). “While ‘mere allegations of numerosity are insufficient,’ Fed. R. Civ. P.

 23(a)(1) imposes a ‘generally low hurdle,’ and ‘a plaintiff need not show the precise

 number of members in the class.’” Manno v. Healthcare Revenue Recovery Grp., LLC, 289

 F.R.D. 674, 684 (S.D. Fla. 2013) (citation omitted). While the exact size of the putative

 class need not be specified, “‘generally less than twenty-one is inadequate, more than

 forty adequate; with numbers between varying according to other factors.’” Cox v. Am.

 Cast. Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986) (quoting 3B Moore's Federal

 Practice para. 23.05[1] n.7 (1978)).

       Here, just the Skip Trace Subclass includes approximately 2 million indiviudals.

 Yanchunis Decl. ¶ 19. Thus, the numerosity requirement is satisfied.

                  b. The Settlement Class Satisfies the Commonality Requirement.

       The second prerequisite to class certification is commonality, which “requires

 the plaintiff to demonstrate that the class members ‘have suffered the same injury,’”

 and the plaintiff’s common contention “must be of such a nature that it is capable of

 classwide resolution–which means that determination of its truth or falsity will resolve

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 an issue that is central to the validity of each one of the claims in one stroke.” Wal-

 Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2545 (2011) (citation omitted). Commonality

 presents a low hurdle, as it does not require that all questions of law and fact raised be

 common. Muzuco v. Re$ubmitIt, LLC, 297 F.R.D. 504, 514 (S.D. Fla. 2013). “[F]or

 purposes of Rule 23(a)(2) ‘[e]ven a single [common] question’ will do.” Dukes, 131 S.

 Ct. at 2556. Rule 23(a)(2) requires “only that there be at least one issue whose

 resolution will affect all or a significant number of the putative class members.” 5

        Here, the commonality requirement of Rule 23(a)(2) is readily satisfied. There

 are many questions of law and fact common to the Settlement Class that focus on

 Defendant’s common practice of causing RVMs to be delivered to Settlement Class

 Members on their cellular telephone voicemail platforms. See Manno, 289 F.R.D. at

 685. Plaintiff initially alleged numerous questions of fact and law common to the

 Settlement Class, including, among others:

        a. whether during the class period, Defendant used an artificial or pre-
           recorded voice in connection with its placement of calls to the cellular
           telephones of Plaintiff and putative Class Members;
        b. whether Defendant is subject to the TCPA;
        c. whether Defendant can show that it obtained prior express consent from
           Plaintiff and putative Class Members to place calls to their cellular
           telephones using an ATDS or artificial or pre-recorded voice;
        d. whether Defendant’s conduct violates the TCPA;
        e. whether Defendant’s conduct was negligent;
        f. whether Defendant’s conduct was knowing and/or willful;
        g. whether Defendant is liable for damages, and the amount of such damages;


 5
  Sharf v. Financial Asset Resolution, LLC, 295 F.R.D. 664, 669 (S.D. Fla. 2014) (internal citations
 omitted); Williams v. Mohawk Indus., Inc., 568 F.3d 1350, 1355 (11th Cir. 2009); James D. Hinson Elec.
 Contr. Co. v. BellSouth Telecomms., Inc., 275 F.R.D. 638, 642 (M.D. Fla. 2011).

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         h. whether Plaintiff and putative Class Members are entitled to declaratory
            relief;
         i. whether Defendant should be enjoined from engaging in conduct in
            violation of the TCPA in the future; and
         j. whether Plaintiff and Class Members are entitled to any other remedy.
                     c. The Settlement Class Satisfies the Typicality Requirement.

         The next prerequisite to certification, typicality, “measures whether a

 significant nexus exists between the claims of the named representative and those of

 the class at large.” Hines v. Widnall, 334 F.3d 1253, 1256 (11th Cir. 2003); Fed. R. Civ.

 P. 23(a)(3). A class representative’s claims are typical of the claims of the class if they

 “arise from the same event or pattern or practice and are based on the same legal

 theory.”6 Simply put, when the same course of conduct is directed at both the named

 plaintiff and the members of the proposed class, the typicality requirement is met.

 Kennedy v. Tallant, 710 F.2d 711, 717 (11th Cir. 1983).

         Here, the typicality requirement is satisfied for the same reasons that Plaintiff’s

 claims meet the commonality requirement. Specifically, Plaintiff and Settlement Class

 Members were each subjected to the same conduct – they all received RVMs sent by

 VoApps to their cellular voicemail service, by or on behalf of Penn. Plaintiff’s claim is

 typical because he did not consent to receive calls from Penn. Yanchunis Decl. ¶ 21.

                    d. The Settlement Class Satisfies the Adequacy Requirement.




 6
  Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984); see also Cooper v. Southern
 Co., 390 F.3d 695, 714 (11th Cir. 2004) (“Neither the typicality nor the commonality requirement
 mandates that all putative class members share identical claims, and . . . factual differences among the
 claims of the putative members do not defeat certification.”).

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        Rule 23(a)(4) requires that the class representative “not possess interests which

 are antagonistic to the interests of the class.” 1 Newberg on Class Actions § 3:21.

 Additionally, the class representative’s counsel “must be qualified, experienced, and

 generally able to conduct the litigation.” Id.; Amchem, 521 U.S. at 625-26. At the

 preliminary stage of the approval process, there is nothing to suggest that this

 requirement has not been satisfied. Plaintiff is a Member of the Settlement Class and

 he does not possess any interests antagonistic to the Settlement Class. See Yanchunis

 Decl. ¶ 20. In addition, proposed Class Counsel are experienced in class action

 litigation, including TCPA actions, and have submitted a declaration establishing their

 skills and experience in handling class litigation around the country and in this

 District. See Yanchunis Decl. ¶¶ 3–7, 22, Exh. 1 thereto. Accordingly, the requirements

 of Rule 23(a) are met.

          2.   The Proposed Settlement Class Meets the Predominance and
               Superiority Requirements of Rule 23(b)(3).

        In addition to meeting the prerequisites of Rule 23(a), the proposed Settlement

 Class must also meet one of the three requirements of Rule 23(b). In re Checking Account

 Overdraft Litig., 286 F.R.D. 645, 650 (S.D. Fla. 2012). Here, Plaintiff seeks certification

 under Rule 23(b)(3) for the Skip Trace Subclass Members, which requires that (i)

 questions of law and fact common to members of the class predominate over any

 questions affecting only individuals, and that (ii) the class action mechanism is

 superior to other available methods for the fair and efficient adjudication of the

 controversy. Fed. R. Civ. P. 23(b)(3). “‘It is not necessary that all questions of fact or


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 law be common, but only that some questions are common and that they predominate

 over individual questions.’” BellSouth Telecomms., Inc., 275 F.R.D. at 644 (quoting Klay

 v. Humana, Inc., 382 F.3d 1241, 1254 (11th Cir. 2004)). The “inquiry into whether

 common questions predominate over individual questions is generally focused on

 whether there are common liability issues which may be resolved efficiently on a class-

 wide basis.” Agan v. Katzman & Korr, P.A., 222 F.R.D. 692, 700 (S.D. Fla. 2004). The

 Skip Trace Subclass readily meets these requirements.

                      a. Common Questions of Law and Fact Predominate.

         Rule 23(b)(3)’s predominance requirement focuses primarily on whether a

 defendant’s liability is common enough to be resolved on a class basis, see Dukes, 131

 S. Ct. at 2551-57, and whether the proposed class is “sufficiently cohesive to warrant

 adjudication by representation.” Amchem, 521 U.S. at 623. Common issues of fact and

 law predominate in a case “if they have a direct impact on every class member’s effort

 to establish liability and on every class member’s entitlement to injunctive and

 monetary relief.”7 Predominance does not require that all questions of law or fact be

 common, but rather, that a significant aspect of the case “can be resolved for all

 settlement class members of the class in a single adjudication.” Tornes v. Bank of

 America, NA (In re Checking Account Overdraft Litig.), 275 F.R.D. 654, 660 (S.D. Fla.

 2011). “When ‘one or more of the central issues in the action are common to the class


 7
   BellSouth Telecomms., Inc., 275 F.R.D. at 644 (citing Klay, 382 F.3d at 1255); see also Sacred Heart
 Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1179 (11th Cir. 2010) (noting
 that “[t]he relevant inquiry [is] whether questions of liability to the class . . . predominate over . . .
 individual issues relating to damages. . . .”).

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 and can be said to predominate, the action may be considered proper under Rule

 23(b)(3) even though other important matters will have to be tried separately, such as

 damages or some affirmative defenses peculiar to some individual class members.’”8

        Common issues readily predominate here because the central liability question

 in this case — whether Defendant sent or caused to be sent RVMs to Skip Trace

 Subclass Members’ cellular voicemail service — can be established through

 generalized evidence.9

        Because the claims are being certified for purposes of settlement, there are no

 issues with manageability, and resolution of thousands of claims in one action is far

 superior to individual lawsuits and promotes consistency and efficiency of

 adjudication.10

                    b. A Class Action Is Superior.

        Finally, a class action is superior to other methods available to fairly,

 adequately, and efficiently resolve the claims of the proposed Skip Trace Subclass. As

 courts have historically noted, “[t]he class action fills an essential role when the

 plaintiffs would not have the incentive or resources to prosecute relatively small claims

 in individual suits, leaving the defendant free from legal accountability.” In re Checking,


 8
   Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (quoting 7AA C. Wright, A. Miller, &
 M. Kane, Federal Practice and Procedure §1778, pp. 123-124 (3d ed. 2005)).
 9
    See Klay v. Humana, Inc., 382 F.3d 1241, 1264 (11th Cir. 2004) (“When there exists generalized
 evidence which proves or disproves an element on a simultaneous, class-wide basis, since such proof
 obviates the need to examine each class member's individual position, the predominance test will be
 met.”).
 10
    Amchem, 521 U.S. at 620 (“Confronted with a request for settlement-only certification, a district
 court need not inquire whether the case, if tried, would present intractable management problems …
 for the proposal is that there be no trial.”).

                                                 17
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 286 F.R.D. at 659. At its most basic, “[t]he inquiry into whether the class action is the

 superior method for a particular case focuses on ‘increased efficiency.’” Agan, 222

 F.R.D. at 700 (quoting Sikes v. Teleline, Inc., 281 F.3d 1350, 1359 (11th Cir. 2002)).

       Factors the Court may consider are: (A) the interests of members of the class in

 individually controlling the prosecution or defense of separate actions; (B) the extent

 and nature of any litigation concerning the controversy already commenced by or

 against members of the class; (C) the desirability or undesirability of concentrating the

 litigation of the claims in the particular forum; and (D) the difficulties likely to be

 encountered in the management of a class. As noted earlier, any perceived difficulties

 managing the Skip Trace Subclass need not be considered in this settlement context.

 Amchem, 521 U.S. at 620. A class action settlement is superior to other means of

 resolution because a settlement affording Skip Trace Subclass Members an

 opportunity to receive compensation benefits all Parties.

       Here, resolution of thousands of claims in one action is far superior to individual

 lawsuits, because it promotes consistency and efficiency of adjudication. See Fed. R.

 Civ. P. 23(b)(3). Indeed, absent class treatment in the instant case, each Skip Trace

 Subclass Member will be required to present the same or essentially the same legal and

 factual arguments, in separate and duplicative proceedings, the resulting in a

 multiplicity of trials conducted at enormous expense to the judiciary and the litigants.

       Moreover, there is no indication that Members of the Skip Trace Subclass have

 an interest in individual litigation or an incentive to pursue their claims individually,

 given the small amount of damages likely to be recovered, relative to the resources

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 required to prosecute such an action.11 Additionally, the proposed Settlement will give

 the Parties the benefit of finality.

                     3. The Class Meets the Requirements Of Rule 23(b)(2).

         Under Rule 23(b)(2), certification is appropriate where a defendant “has acted

 or refused to act on grounds that apply generally to the class, so that final injunctive

 relief or corresponding declaratory relief is appropriate respecting the class as a

 whole.” Here, certification of the Settlement Class under Rule 23(b)(2) is appropriate

 because Penn has acted on grounds that apply generally to all class members via the

 RVMs they were sent and/or received, and because the Parties have agreed to

 meaningful injunctive relief that will improve Penn’s practices for the benefit of all

 Class Members. Further, Non Skip Trace Subclass Members only receiving this

 injunctive relief are expressly free to pursue individual TCPA claims against Penn. As

 such, this Court should certify the Non Skip Trace Subclass under Rule 23(b)(2). 12

         B. Plaintiff’s Counsel Should Be Appointed as Class Counsel.

         Under Rule 23, “a court that certifies a class must appoint class

 counsel . . . [who] must fairly and adequately represent the interests of the class.” Fed.

 R. Civ. P. 23(g)(1)(B). In making this determination, the court must consider the

 proposed class counsel’s (1) work in identifying or investigating potential claims, (2)



 11
    See In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 700 (S.D. Fla. 2004) (class actions
 are “particularly appropriate where . . . it is necessary to permit the plaintiffs to pool claims which
 would be uneconomical to litigate individually”).
 12
    See Northrup v. Innovative Health Ins. Partners, LLC, 329 F.R.D. 443, 453 (M.D. Fla. 2019) (“The
 central common issues in this case are whether Defendants used an ATDS to send the text message,
 and, if so, whether Defendants’ actions were willful.”).

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 experience in handling class actions or other complex litigation and the types of claims

 asserted in the case, (3) knowledge of the applicable law, and (4) resources committed

 to representing the class. Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv).

         As discussed above, and as fully explained in Class Counsel’s Declaration,

 attached hereto as Exhibit B and its Exhibit 1, proposed Class Counsel have extensive

 experience prosecuting class actions and other complex litigation. Further, proposed

 Class Counsel have diligently investigated and prosecuted the claims in this matter,

 have dedicated substantial resources to the investigation of those claims, and have

 successfully negotiated the settlement of this matter to the benefit of Plaintiff and the

 proposed Settlement Class. Id. Accordingly, the Court should appoint John

 Yanchunis, Octavio Gomez, and Patrick A. Barthle II as Class Counsel.

         C. The Settlement Warrants Preliminary Approval.

         After determining that a proposed settlement class is appropriate for

 certification, courts consider whether the proposed settlement itself warrants

 preliminary approval. Under Rule 23(e), “the Court will approve a class action

 settlement if it is ‘fair, reasonable, and adequate.’” Burrows, 2013 WL 10167232, at *5

 (quoting Fed. R. Civ. P. 23(e)(2)).

         Further, it must be noted that there is a strong judicial and public policy favoring

 the voluntary conciliation and settlement of complex class action litigation. 13 Thus,


 13
   In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992) (“Public policy strongly favors the
 pretrial settlement of class action lawsuits”); Warren v. City of Tampa, 693 F. Supp. 1051, 154 (M.D.
 Fla. 1998), aff’d, 893 F. 2d 347 (11th Cir. 1998); Access Now, Inc. v. Claires Stores, Inc., No. 00-cv-14017,
 2002 WL 1162422, at *4 (S.D. Fla. May 7, 2002). This is because class action settlements ensure class
 members a benefit, as opposed to the “mere possibility of recovery at some indefinite time in the

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 while district courts have discretion in deciding whether to approve a proposed

 settlement, deference should be given to the consensual decision of the Parties. Warren,

 693 F. Supp. at 1054 (“affording great weight to the recommendations of counsel for

 both parties, given their considerable experience in this type of litigation”).

                  1. The Settlement Satisfies Amended Rule 23(e)

        Rule 23(e)(1) now provides that notice should be given to the class, and hence,

 preliminary approval should be granted, where the Court “will likely be able to” (i)

 finally approve the settlement under Amended Rule 23(e)(2), and (ii) certify the class

 for settlement purposes. Fed. R. Civ. P. 23(e)(1)(B)(i)–(ii); see also id. 2018 Amendment

 Advisory Committee Notes. As explained above, the Class here meets the criteria for

 certification of a settlement class, including all aspects of numerosity, commonality,

 typicality, adequacy, and predominance. Rule 23(e)(1)(B)(ii) is therefore met.

        As to Rule 23(e)(1)(B)(i), final approval is proper under the amended rule upon

 a finding that the settlement is “fair, reasonable, and adequate” after considering

 whether:

                (A) the class representatives and class counsel have adequately
                represented the class;
                (B) the proposal was negotiated at arm’s length;
                (C) the relief provided for the class is adequate, taking into account:
                        (i) the costs, risks, and delay of trial and appeal;
                        (ii) the effectiveness of any proposed method of distributing relief
                        to the class, including the method of processing class-member

 future.” In re Domestic Air Transport., 148 F.R.D. 297, 306 (N.D. Ga. 1993); see also, e.g., Ass’n for
 Disabled Americans, Inc. v. Amoco Oil Co., 211 F.R.D. 457, 466 (S.D. Fla. 2002) (finding that the policy
 favoring settlement is especially relevant in class actions and other complex matters, where the
 inherent costs, delays and risks of continued litigation might otherwise overwhelm any potential
 benefit the class could hope to obtain).

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                        claims;
                        (iii) the terms of any proposed award of attorney’s fees, including
                        timing of payment; and
                        (iv) any agreement required to be identified under Rule 23(e)(3);
                        and

                (D) the proposal treats class members equitably relative to each other.

 Fed. R. Civ. P. 23(e). The Court will “likely be able to” finally approve this Settlement

 and thus preliminary approval should be granted.

                        a. Adequacy of Representation and Arm’s Length Negotiation

        As an initial matter, and as explained above, Plaintiff and Class Counsel have

 adequately represented the Class. See supra section III.A.1.d. Moreover, the Settlement

 was negotiated at arm’s length using experienced mediator Judge Thornton.

 Yanchunis Decl. ¶ 13.14 Subsections (A) and (B) of Rule 23(e)(2) are therefore met.

                        b. Adequacy of Relief

        The relief offered by the Settlement is adequate considering the risks of

 continued litigation. Although Plaintiff is confident in the merits of his claims, the risks

 involved in prosecuting a class action through trial cannot be disregarded. Plaintiff’s

 claims would still need to succeed on a motion for class certification, and likely survive

 an appeal thereof.

        As discussed above, pursuant to the Settlement, Penn will create a Settlement



 14
    See also Perez v. Asurion Corp., 501 F. Supp. 2d 1360, 1384 (S.D. Fla. 2007) (concluding class
 settlement not collusive in part because it was overseen by “an experienced and well-respected
 mediator”); Lipuma, 406 F. Supp. 2d at 318-19 (approving settlement where the “benefits conferred
 upon the Class are substantial, and are the result of informed, arms-length negotiations by experienced
 Class Counsel”).

                                                   22
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 Fund of $4,675,000. Each Skip Trace Subclass Member who submits a timely and

 valid claim form will receive a payment in proportion to their pro rata share of the

 Settlement Fund following payment of Attorneys’ Fees and Costs, Settlement

 Admininstration Expenses, and Service Award (if any). Given the relief offered under

 the Settlement, Class Counsel believe the results achieved are well within the range of

 possible approval.

        Here, the central legal issues affecting Skip Trace Subclass Members are

 whether the RVMs constitute calls under the TCPA, whether VoApps was acting as

 Penn’s agent, and, critically, whether Penn obtaining Skip Trace Subclass Members

 cellular telephone numbers via “skip tracing” or similar techniques broadly establishes

 that Penn lacked consent to call them.

        Conversely, for the Non Skip Trace Subclass, individualized inquiry is a much

 more significant hurdle so far as determining whether each member consented to such

 calls. Because the members of that subclass are affected by issues of individual

 inquiry—namely, whether each consented to the calls at issue—Plaintiff pursued the

 best available remedy for them: significant and meaningful injunctive relief along with

 the preservation of their individual claims.

        Thus, Plaintiff has struck a reasonable balance of obtaining significant

 injunctive relief combined with a limited release that preserves the Non Skip Trace

 Subclass Members’ individual damages claims against Penn.15


 15
    See Gutierrez-Rodriguez v. R.M. Galicia, Inc., 2017 WL 4621188, *6 (S.D. Cal. Oct. 16, 2017)
 (approving TCPA class action settlement with similar injunctive relief); Schwyhart v. AmSher Collection

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         Nevertheless, and despite the strength of the Settlement, Plaintiff is pragmatic

 in his awareness of the various defenses available to Penn, as well as the risks inherent

 to continued litigation. Penn consistently denied the allegations raised in the

 Complaint, and made clear at the outset that it would vigorously defend this case

 through trial as needed, including contesting class certification issues of individualized

 consent issues.

         Additionally, Penn is a small business of limited net worth and does not have

 the resources to fund a larger settlement. Penn possesses limited applicable insurance

 – the policy limits of which are being fully exhausted between the establishment of the

 Settlement Fund and the payment of legal fees and costs. To be clear, Penn has put

 everything available on the table in this Settlement. Anything more would likely result

 in Penn’s seeking relief under the United States Bankruptcy Code. Thus, financial

 realities dictate that a larger pool of available financial resources following trial would

 be highly unlikely.16 Yanchunis Decl. ¶ 19. Given the risks of proceeding and the

 limited available award, obtaining significant injunctive relief while maintaining the


 Servs., Inc., 2017 WL 1034201, *1 (N.D. Ala. Mar. 16, 2017) (approving damages and injunctive
 subclasses in TCPA settlement); Bellows v. NCO Fin. Sys., Inc., 2008 WL 11508671, *3 (S.D. Cal. Sept.
 10, 2008) (“The Court also preliminarily approves the Stipulated Injunction”); see also Fresco v. Auto.
 Directions, Inc., 03-CIV-61063-MARTINE, 2009 WL 9054828, at *5–6, 20 (S.D. Fla. Jan. 20, 2009)
 (approving Rule 23(b)(2) settlement class wherein class members released future use of the “class
 action procedural device” and any individual claims for statutory damages under the Driver’s
 Protection Privacy Act (“DPPA”), but retained the right “to file individual lawsuits under the DPPA
 or DPPA State Equivalents for actual monetary damages”).
 16
    See In re Rent-Way Sec. Litig., 305 F. Supp. 2d 491, 508 (W.D. Pa. 2003) (“Under these circumstances,
 even if the Class were to proceed to trial successfully against Rent-Way, it is highly doubtful that the
 Class would be able to secure a better recovery than that provided by the proposed Settlement. This
 factor therefore strongly favors approval of the proposed Settlement.”); In re AmeriSoft Corp. Sec. Litig.,
 210 F.R.D. 109, 125 (D.N.J. 2002) (“The Defendants’ inability to withstand greater judgment
 militates in favor of settlement.”).

                                                     24
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 Non Skip Trace Subclass Members’ rights to proceed with individual lawsuits is fair,

 balanced, and reasonable.

       Settlement relief will be distributed via a straight-forward claims process

 utilizing an easy to understand claim form. S.A. ¶ 3.7. Payments for approved claims

 will be distributed no later than sixty days after the Effective Date. S.A. ¶¶ 3.7, 1.16.

       Attorneys’ fees, costs, and expenses were negotiated separate, apart, and after

 reaching agreement on the Class relief. Yanchunis Decl. ¶ 14. Plaintiff will seek

 attorneys’ fees of up to thirty percent (30%) of the Settlement Fund, plus any

 reasonable out-of-pocket costs and litigation expenses incurred by Class Counsel.

 Attorneys’ fees, costs, and expenses, in whatever amount set by the Court, are to be

 paid as soon as possible after the Effective Date. S.A. ¶ 13.1.

       The Parties have agreed to maximum number of exclusions, above which

 Defendant may elect to terminate this agreement. S.A. ¶ 9.1(f).

       Accordingly, the relief provided by the Settlement is fair, reasonable, and

 adequate especially when considering the inherent costs, risks, and delay were this

 matter to proceed. Subsection (C) of Rule 23(e)(2) is therefore met.

                     c. The Settlement Treats Class Members Equitably

       The last requirement of the new Rule 23(e) is that the Settlement “treats class

 members equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). Here, the

 Settlement treats Class Members equitably relative to one another because all Skip

 Trace Subclass Members are eligible for compensation following submission of a claim



                                             25
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 form, and Non Skip Trace Subclass Members obtain valuable injuctive relief while

 mainting their right to pursue individual monetary recovery, if they so choose.

                  2. The Settlement Satisfies Historic Preliminary Approval Factors

        The historical procedure for review of a proposed class action settlement is a

 well-established two-step process. ALBA & CONTE, 4 NEWBERG ON CLASS ACTIONS,

 §11.25, at 38–39 (4th ed. 2002). The first step is a preliminary, pre-notification hearing

 to determine whether the proposed settlement is “within the range of possible

 approval.”17 “Preliminary approval is appropriate where the proposed settlement is the

 result of the parties’ good faith negotiations, there are no obvious deficiencies and the

 settlement falls within the range of reason.” Smith v. Wm. Wrigley Jr. Co., No. 09-cv-

 60646, 2010 WL 2401149, at *2 (S.D. Fla. Jun. 15, 2010). Moreover, settlement

 negotiations that involve arm’s length, informed bargaining with the aid of

 experienced counsel support a preliminary finding of fairness.18

        Here, there is no question that the proposed Settlement is “within the range of

 possible approval.” As explained above, the process used to reach the Settlement was

 exceedingly fair and overseen by an experienced neutral. The Settlement is the result

 of intensive, arm’s length negotiations between experienced attorneys who are familiar

 with class action litigation and with the legal and factual issues in these cases.

        As discussed above, the relief provided by the Settlement is significant,


 17
    Id. (quoting MANUAL FOR COMPLEX LITIG., §30.41 (3rd ed. 1995)); Fresco v. Auto Data Direct, Inc.,
 No. 03-cv-61063, 2007 WL 2330895, at *4 (S.D. Fla. May 14, 2007).
 18
     See MANUAL FOR COMPLEX LITIG. at §30.42. (“A presumption of fairness, adequacy, and
 reasonableness may attach to a class settlement reached in arm’s-length negotiations between
 experienced, capable counsel after meaningful discovery.”) (internal quotation marks omitted).

                                                 26
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 especially considering the risks and delay further litigation would entail and Penn’s

 financial position. Thus, the Settlement is due to be preliminarily approved.

              D. The Form and Method of Class Notice Satisfy Rule 23.

        “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to

 all class members who would be bound by a proposed settlement, voluntary dismissal,

 or compromise regardless of whether the class was certified under Rule 23(b)(1), (b)(2),

 or (b)(3).” MANUAL FOR COMPL. LITIG. § 21.312 (internal quotation marks omitted).

 The best practicable notice is that which is “reasonably calculated, under all the

 circumstances, to apprise interested parties of the pendency of the action and afford

 them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust

 Co., 339 U.S. 306, 314 (1950). To satisfy this standard, “[n]ot only must the substantive

 claims be adequately described but the notice must also contain information

 reasonably necessary to make a decision to remain a class member and be bound by

 the final judgment or opt out of the action.”19

        The notice plan here satisfies all of these criteria and is designed to provide the

 best notice practicable. Foremost, the language of the notice is reasonably calculated

 under the circumstances to apprise the Settlement Class of the pendency of the case,

 class certification (for settlement purposes), the terms of the Settlement, Class

 Counsel’s motion for attorneys’ fees, costs and expenses, and the Class




 19
   Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th Cir. 1998) (internal quotation marks
 omitted); see also MANUAL FOR COMPL. LITIG., § 21.312 (listing relevant information).

                                               27
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 Representative’s service award, Skip Trace Subclass Members’ rights to opt-out of or

 object to the Settlement, as well as the other information required by Rule 23(c)(2)(B).

       Additionally, the notice plan includes direct E-Mail Notice to Skip Trace

 Subclass Members, as well as notice via social media and the Settlement Website.

 Thus, the proposed publication is the best notice practicable under the circumstances.

 Fed. R. Civ. P. 23(c)(2)(B) (“The notice may be by . . . electronic means, or other

 appropriate means.”).

       The Proposed Order Preliminarily Approving Class Action Settlement,

 attached to the Settlement as its Exhibit 5, has been drafted and approved by counsel

 for Plaintiff and Penn. The proposed form of notice, attached to the Settlement as its

 Exhibits 3 and 4, satisfies all of the criteria above. Finally, Penn will provide the

 notification required by the Class Action Fairness Act, 28 U.S.C. § 1715, to the

 Attorneys General of each U.S. State in which Settlement Class Members reside, the

 Attorney General of the United States, and any other required government officials.

       Therefore, the notice and notice plan satisfy all applicable requirements of the

 law, including, but not limited to, Rule 23 of the Federal Rules of Civil Procedure and

 applicable Due Process. The Court should therefore approve the notice plan and the

 form and content of the notice attached to the Settlement as Exhibits 3 and 4.

             E. The Court Should Schedule a Final Approval Hearing.

      The last step in the preliminary approval process is to schedule a Final Approval

 Hearing, at which the Court will hear evidence and argument necessary to make its

 final evaluation of the Settlement. The Court will determine at or after the Final

                                           28
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 Approval Hearing whether the Settlement should be approved; whether to enter the

 Final Judgment and Order of Dismissal with Prejudice under Rule 23(e); and whether

 to approve Class Counsel’s motion for attorneys’ fees, costs and expenses, and request

 for a service award for the Class Representative. Plaintiff and Class Counsel request

 that the Court schedule the Final Approval Hearing at a date convenient for the Court,

 and in compliance with the provisions of the Class Action Fairness Act of 2005, 28

 U.S.C. § 1715. Plaintiff and Class Counsel will file the motion for final approval and

 motion for attorneys’ fees, costs and expenses, and request for a service award no more

 than 50 days after Preliminary Approval.

 IV.   CONCLUSION

       Based on the foregoing, Plaintiff respectfully requests that the Court enter an

 order: (1) certifying, for settlement purposes, the proposed Settlement Class and

 Subclasses, pursuant to Rules 23(a), (b)(2), (b)(3) and (e) of the Federal Rules of Civil

 Procedure; (2) granting Preliminary Approval of the Settlement; (3) approving the

 notice plan set forth in the Settlement and the form and content of the notice attached

 as Exhibits 3 and 4 thereto, and appointing American Legal Claim Services, LLC as

 the Settlement Administrator; (4) approving and ordering the opt-out and objection

 procedures set forth in the Settlement; (5) appointing Plaintiff Terrance Guidry as

 Class Representative; (6) appointing John A. Yanchunis, Octavio Gomez, and Patrick

 A. Barthle II of Morgan & Morgan as Class Counsel; and (7) scheduling a Final

 Approval Hearing at a date convenient for the Court, and in compliance with the

 provisions of the Class Action Fairness Act of 2005, 28 U.S.C. § 1715. A Proposed

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 Order Preliminarily Approving Class Settlement is attached as Exhibit 5 to the

 Settlement Agreement.


 Dated: March 30, 2021                      Respectfully submitted,

                                            MORGAN & MORGAN
                                            COMPLEX LITIGATION GROUP

                                            /s/ John A. Yanchunis
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                                            Attorneys for Plaintiff


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 30, 2021, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system, which will send

 notification of this filing to all attorneys of record in this matter.


                                            /s/ John A. Yanchunis
                                            John A. Yanchunis




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